           IN THE UNITED STATES DISTRICT COURT FOR THE
                   WESTERN DISTRICT OF MISSOURI
                         SOUTHERN DIVISION

UNITED STATES OF AMERICA,               )
                                        )
                       Plaintiff,       )
                                        )
     vs.                                )     No. 15-03051-08-CR-S-MDH
                                        )
DAVID M. CLIMER,                        )
                                        )
                       Defendant.       )


                       REPORT AND RECOMMENDATION
                       CONCERNING PLEA OF GUILTY


     The Defendant, by consent, has appeared before me pursuant to

Rule 11, F.R.Cr.P., 22(k)(26), WDMO, and 28 U.S.C. '636, and has

entered a plea of guilty to Count One contained in the Second

Superseding Indictment filed on August 25, 2015.          After cautioning

and examining the Defendant under oath concerning each of the

subjects mentioned in Rule 11, I determined that the guilty plea was

knowledgeable and voluntary, and that the offense charged is

supported by a factual basis for each of the essential elements of

the offense.   I therefore recommend that the plea of guilty be

accepted and that the Defendant be adjudged guilty and have sentence

imposed accordingly.



Date: April 7, 2016                  /s/ David P. Rush
                                    DAVID P. RUSH
                                    UNITED STATES MAGISTRATE JUDGE




    Case 6:15-cr-03051-MDH   Document 181    Filed 04/07/16   Page 1 of 2
                                NOTICE

     Failure to file written objections to this Report and
Recommendation within 14 days from the date of its service shall bar
an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C.
'636(b)(1)(B).




    Case 6:15-cr-03051-MDH   Document 181   Filed 04/07/16   Page 2 of 2
